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                                       8                             UNITED STATES DISTRICT COURT
                                       9                          NORTHERN DISTRICT OF CALIFORNIA
                                      10                                 (SAN FRANCISCO DIVISION)
                                      11 RICHARD KADREY, et al.,                         Case No. 23-cv-03417-VC
                                      12
                                             Individual and Representative Plaintiffs,   BRIEF OF AMICUS CURIAE THE
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   Los Angeles, California 90067




                                      13                                                 ASSOCIATION OF AMERICAN
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                                                v.                                       PUBLISHERS IN SUPPORT OF
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                                                                                         PLAINTIFFS’ MOTION FOR PARTIAL
                                      15 META PLATFORMS, INC., a Delaware                SUMMARY JUDGMENT AND
                                         Corporation,                                    OPPOSITION TO DEFENDANT’S
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                                                                                         MOTION FOR PARTIAL SUMMARY
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                                       1                         STATEMENT OF INTEREST OF AMICUS CURIAE

                                       2            Amicus curiae Association of American Publishers (“AAP”) is the national trade

                                       3 association for book, journal, and education publishers in the United States. AAP’s members

                                       4 include major commercial publishers of fiction and nonfiction; education publishers; small,

                                       5 specialized, and independent publishers; and nonprofit publishers such as university presses and

                                       6 scholarly research societies.

                                       7            AAP’s members have a direct and compelling interest in the efficacy, administration, and

                                       8 enforcement of federal copyright laws. They invest in and make available to the public a wide

                                       9 range of works, including literature, scholarship, professional content, and scientific journals. Just
                                      10 as the long-term public interest is served by protecting the exclusive rights of copyright owners,

                                      11 the long-term potential of AI technology will only be realized by preserving the marketable rights

                                      12 that enable authors, publishers, and AI developers to engage in mutually beneficial commercial
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                                      13 transactions.1
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                                      14                                     SUMMARY OF ARGUMENT

                                      15            Defendant Meta Platforms, Inc. (“Meta”), a company valued at over a trillion dollars, asks

                                      16 this Court to declare that it is free to appropriate and commercially exploit the content of

                                      17 copyrighted works on a massive scale without permission or payment for that content, a ruling that

                                      18 would have catastrophic consequences for authors and publishers of books, journals and other

                                      19 textual works protected by copyright. Meta asserts that the unauthorized appropriation of millions
                                      20 of human-authored works, including pirated libraries of books, to train its generative large

                                      21 language model (“LLM”), Llama, is a “quintessential” fair use. It is not.

                                      22            Contrary to Meta’s claims, there is no judicial precedent that condones the mass

                                      23 appropriation of copyrighted works to make use of their expressive content for commercial ends as

                                      24 a fair use of those works. Meta’s claim of fair use is largely predicated on two false narratives.

                                      25 Seeking to establish that its exploitation is “transformative” under the first fair use factor of

                                      26

                                      27   1
                                           No party or their counsel authored this brief in whole or in part or contributed money intended to
                                      28 fund the preparation or submission of this brief.
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                                       1 section 107 of the Copyright Act,2 Meta misleadingly portrays the LLM training process—in

                                       2 which works are systematically reproduced and ingested into Llama word by word—as merely

                                       3 recording “statistical information” about the works rather than capturing the content of the works.3

                                       4 Meta would have this Court believe that authors’ original expression is not preserved in or

                                       5 exploited by the model. But this is not so. The LLM algorithmically maps and stores authors’

                                       6 original expression so it can be used to generate output—indeed, that is the very point of the

                                       7 training exercise.

                                       8            Contrary to Meta’s claims, there is nothing transformative about the systematic copying

                                       9 and encoding of textual works, word by word, into an LLM. It does not involve criticism or
                                      10 commentary, provision of a search or indexing utility, software interoperability, or any other

                                      11 purpose recognized as transformative under fair use precedents. Nor can Meta claim that the

                                      12 output of Llama offers commentary, searchability, or other functionality with respect to the works
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                                      13 on which it is trained.
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                                      14            The second falsehood advanced by Meta is that developers like Meta have no choice but to

                                      15 rely on fair use because they are unable to obtain licenses for copyrighted materials to train their

                                      16 LLMs.4 Seeking to avoid a finding of market harm under the critical fourth fair use factor,5 Meta

                                      17 urges this Court to disregard numerous documented AI licensing agreements for textual works,

                                      18 going so far as to claim “no such market exists.”6 From this false premise Meta asserts it was

                                      19 entitled to help itself to millions of books and articles, conveniently stripped of digital rights
                                      20 management (“DRM”) protections, from illicit sources.

                                      21            Significantly, despite entering into discussions with book publishers to acquire authorized

                                      22 copies of their works to train Llama, Meta instead chose to acquire texts from notorious pirate

                                      23

                                      24
                                           2
                                      25   17 U.S.C. § 107(1) (court to consider the “purpose and character of the use, including whether
                                         such use is of a commercial nature or is for nonprofit educational purposes”).
                                      26 3 See, e.g., Def.’s Opening Br. (“Meta Br.”) at 10, 22.
                                         4
                                           See, e.g., id. at 31-32.
                                      27 5 17 U.S.C. § 107(4) (court to consider the “effect of the use upon the potential market for or value

                                      28 of
                                         6
                                            the copyrighted work”).
                                           Meta Br. at 3.
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                                       1 sites like LibGen and Anna’s Archive.7 In light of this history, it is perhaps unsurprising that Meta

                                       2 seeks to deny the very existence of a viable market for AI training materials. But Meta’s claim is

                                       3 belied by numerous publicly announced deals entered into by copyright owners in response to the

                                       4 advent of generative AI in the public sphere to authorize the use of books and other texts by AI

                                       5 developers (as catalogued in the illustrative chart below).

                                       6            This Court should reject Meta’s assertion that its appropriation of copyrighted works to

                                       7 train Llama is transformative fair use. There is no legal precedent to support the view that the

                                       8 systematic encoding of copyrighted materials to exploit their expressive content is a

                                       9 transformative use under the first fair use factor. As the commercial purpose of Llama is not in
                                      10 dispute,8 the first fair use factor strongly favors Plaintiffs.

                                      11            This Court should also reject Meta’s spurious assertion that there is no market for licensing

                                      12 of books and other textual works to AI developers. The existence of an active market for AI
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                                      13 training materials is indisputable. A finding of fair use in this case could eviscerate the ability of
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                                      14 authors and owners to receive compensation for the value of their copyrighted works and the

                                      15 exploitation of those works to build and operate LLMs, without which works Llama and other AI

                                      16 models would not and could not exist. The obvious harm to a robust and rapidly expanding

                                      17 market for AI training materials weighs decisively against fair use under factor four.

                                      18            Finally, from a policy perspective, Meta’s decision to appropriate millions of DRM-free

                                      19 books and other texts from pirate libraries is incompatible with a finding of fair use. A ruling that
                                      20 legitimizes such conduct in the name of fair use would be directly contrary to Congress’ express

                                      21 intent when in enacting the Digital Millennium Copyright Act (“DMCA”) in 1998, which updated

                                      22 the Copyright Act for the digital age.9 In adopting the DMCA, Congress sought to ensure a

                                      23 thriving online marketplace for copyrighted works and those seeking to use them by safeguarding

                                      24 the ability of copyright owners to distribute their works in protected formats.10 A determination of

                                      25 fair use in this case would directly undermine that objective by rewarding the intentional

                                      26
                                           7
                                           Pl.’s Opening Br. (“Plaintiffs’ Br.”) at 20-21; Meta Br. at 6-8.
                                      27   8
                                           Meta Br. at 18.
                                         9
                                      28 10See generally DMCA, Pub. L. No. 105-304, 112 Stat. 2860 (1998).
                                            See S. Rep. No. 105-190, at 8 (1998).
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                                       1 exploitation of stolen works as an alternative to authorized access.

                                       2                                               ARGUMENT

                                       3        I.   There Is No Fair Use Precedent That Condones the Mass Appropriation of

                                       4             Copyrighted Works to Exploit Their Expressive Content

                                       5             As justification for its mass unauthorized exploitation of copyrighted works, Meta invokes

                                       6 earlier fair use precedents involving technologically driven copying, including Authors Guild v.

                                       7 Google, Inc. (“Google Books”),11 Authors Guild, Inc. v. HathiTrust (“HathiTrust”),12 Kelly v.

                                       8 Arriba Soft Corporation,13 Perfect 10, Inc. v. Amazon.com, Inc.,14 A.V. v. iParadigms, LLC

                                       9 (“iParadigms”),15 Sega Enterprises Ltd. v. Accolade, Inc.,16 Sony Computer Entertainment, Inc. v.
                                      10 Connectix Corp. (“Sony Computer”),17 and Google, LLC v. Oracle America, Inc. (“Oracle”).18

                                      11 None of these decisions, however, sanctions the appropriation and exploitation of copyrighted

                                      12 works to capitalize on their expressive content, as Meta is doing here.
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                                      13             There was no general declaration in either Google Books or HathiTrust that mass
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                                      14 reproduction of copyrighted works to construct a product predicated upon large-scale copying has

                                      15 any presumptive claim to fair use. To the contrary, the Google Books panel was careful to cabin

                                      16 its holding to the particular circumstances before it, including the fact that Google’s search

                                      17 functionality returned only snippets of text that did not permit meaningful consumption of

                                      18 expressive content.19 Although Google made full-text copies of the books, it was not seeking to

                                      19 capitalize on, or allow users to exploit, the intrinsic value of those works. Even so, the court
                                      20 considered Google’s copying to “test the boundaries of fair use,” a sentiment that the Ninth Circuit

                                      21 shares.20 Indeed, the court pointedly observed that had Google permitted users greater access to

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                                              804 F.3d 202 (2d Cir. 2015).
                                      23   12
                                              755 F.3d 87 (2d Cir. 2014).
                                           13
                                      24      336 F.3d 811 (9th Cir. 2003).
                                           14
                                              508 F.3d 1146 (9th Cir. 2006).
                                           15
                                      25      562 F.3d 630 (4th Cir. 2009).
                                           16
                                              977 F.2d 1510 (9th Cir. 1992)
                                      26   17
                                              203 F.3d 596 (9th Cir. 2000).
                                           18
                                              593 U.S. 1 (2021).
                                      27   19
                                              See Google Books, 804 F.3d at 224-25.
                                           20
                                      28      Id. at 206; see also VHT, Inc. v. Zillow Grp., Inc., 918 F.3d 723, 743 (9th Cir. 2019) (“We agree
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                                       1 “the expressive content” of the book, such exploitation “would most likely constitute copyright

                                       2 infringement if not licensed by the rights holders.”21

                                       3          The determination of fair use in HathiTrust was similarly confined to the facts of that case,

                                       4 which also involved large-scale unauthorized scanning of books to create a searchable database.22

                                       5 In both Google Books and HathiTrust, the court distinguished between uses that were merely

                                       6 functional in nature and uses that sought to capitalize on expressive authorship. Meta’s conduct

                                       7 cannot be squared with the fair use finding in either of these cases, the holdings of which were

                                       8 careful to preserve copyright owners’ legitimate interest in their expressive authorship.

                                       9          In Kelly, the court held that the defendant’s copying of photos to provide a search and
                                      10 indexing service was a transformative fair use because the low-quality thumbnail copies “serve[d]

                                      11 a different function” than the originals by “improving access to information on the internet.”23

                                      12 The court pointedly distinguished this purpose from copying to capitalize on “artistic
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                                      13 expression.”24 Like Kelly, Perfect 10 involved indexing of online images.25 The Ninth Circuit
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                                      14 again held that a search engine’s copying of images for thumbnail display was a transformative

                                      15 fair use—and again because the images were not being used for their intrinsic purpose, but rather

                                      16 to create “an electronic reference tool.”26 Similarly, in iParadigms, which considered a plagiarism

                                      17 detection service that made copies of student papers, the Fourth Circuit focused on the fact that the

                                      18 defendant’s use of the copied content “had an entirely different function and purpose than the

                                      19 original works,” emphasizing that the use was “unrelated to any creative component” of the
                                      20 student works.27

                                      21          Sega, Sony Computer, and Oracle are even farther afield from the type of copying engaged

                                      22 in by AI companies. In each of these cases, the copying was of a particular work to access non-

                                      23

                                      24 with the Second Circuit’s observation that the copyright dispute over the Google Books search
                                         engine ‘tests the boundaries of fair use.’”) (quoting Google Books, 804 F.3d at 206).
                                         21
                                      25    Google Books, 804 F.3d at 226.
                                         22
                                            HathiTrust, 755 F.3d at 97-104.
                                      26 23 Kelly, 336 F.3d at 818-19.
                                         24
                                            Id. at 819.
                                      27 25 Perfect 10, 508 F.3d at 1157.
                                         26
                                      28 27 Id. at 1164-65.
                                            iParadigms, 562 F.3d at 639, 641-42.
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                                       1 protected computer code for the purpose of facilitating interoperability (in Oracle, interoperability

                                       2 among software coders)—clearly not the objective of Meta’s copying. Notably with respect to the

                                       3 case before this Court, in Sega, although the Ninth Circuit concluded that reverse engineering of

                                       4 Sega’s computer code to determine its functional elements to create compatible videogames was a

                                       5 fair use, the court expressly rejected the defendant’s argument that its copying of Sega’s code

                                       6 could not infringe because its end product was not substantially similar to the copied work. The

                                       7 Sega court ruled that copying “may infringe the exclusive rights granted to the copyright owner in

                                       8 Section 106 of the Copyright Act regardless of whether the end product of the copying infringes

                                       9 those rights.”28 This principle was reaffirmed by the Ninth Circuit two decades later in Sony
                                      10 Computer.29

                                      11          In short, none of the fair use precedents on which Meta purports to rely addressed a

                                      12 product designed to copy and exploit authors’ expressive content to derive new content, including
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                                      13 potentially infringing or competing content. Not one involved the appropriation of expressive
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                                      14 content for its intrinsic value. There is no judicial precedent that supports Meta’s claim of fair use

                                      15 in this case.

                                      16    II.   Meta’s Mass Appropriation and Exploitation of Expressive Works to Train Llama

                                      17          Was Not a Fair Use

                                      18          Meta’s mass copying of books and other textual works from illicit sources to build and

                                      19 operate Llama was commercially motivated and not a transformative use of those works.
                                      20 Accordingly, the first fair use factor weights against fair use. With respect to the critical fourth

                                      21 fair use factor, market harm, Meta’s choice to rely on stolen content rather than acquire licenses

                                      22 from publishers undermined a vital market for copyright owners seeking to license their works for

                                      23 AI training purposes. Factor four, then, also weighs heavily against fair use. As it is undisputed

                                      24 that Plaintiffs’ works are creative (fair use factor two) and were taken in their entirety (factor

                                      25
                                           28
                                            Sega, 977 F.2d at 1517-19 (emphasis added). The court instead grounded its fair use finding on
                                      26 the fact that the copying was undertaken solely to identify functional elements rather than to
                                         exploit Sega’s creative expression. Id. at 1522-23.
                                      27 29 See Sony Computer, 203 F.3d at 602-03 (“In Sega, we recognized that intermediate copying

                                      28 could constitute infringement even when the end product did not itself contain copyrighted
                                         material.”).
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                                       1 three), the four factors together point decisively against fair use.

                                       2          A.      LLM Training Is Not a Transformative Use of Copyrighted Works

                                       3                  1.     Training Is Not “Learning” About Works, But the Encoding of

                                       4                         Expressive Content Word by Word

                                       5          Meta claims that the LLM training process, by which copyrighted works are systematically

                                       6 ingested and encoded into the model word by word, is transformative because the LLM learns

                                       7 only information about the works, with “‘nothing of the training data remain[ing].’”30 According

                                       8 to Meta, Plaintiffs’ works were appropriated and used merely to “extract … unprotected statistical

                                       9 data regarding word order, frequencies, grammar, and syntax,” rather than “protected
                                      10 expression.”31 This characterization of the training process is grossly misleading.

                                      11          To begin with, common sense dictates that authors’ words themselves, not just “statistical

                                      12 information” about them, are stored in the model. Otherwise how could the model capture “word
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                                      13 order” or “syntax”? And how would Llama generate word-based output?
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                                      14          The reality is that, to train an LLM, authors’ expression is first copied wholesale from an

                                      15 online or other source—in Meta’s case, by downloading texts from pirate sites—and then mapped

                                      16 word by word into the model so the model can draw upon that expression (and other authors’

                                      17 expression) to generate output. Textual works are broken down into small segments, or “tokens,”

                                      18 typically consisting of a word or part of a word.32 The tokens are encoded into word vectors, long

                                      19 number sequences that capture where the tokens appear in relation to other tokens in the text, so
                                      20 the text is represented in numerical form.33 The vectorized tokens can be decoded and translated

                                      21
                                           30
                                              Meta Br. at 10 (quoting Meta expert Ungar).
                                      22   31
                                              Id. at 22.
                                           32
                                              See Meta Br. at 5; see also Lark Editorial Team, Tokens in Foundational Models, Lark (Dec. 25,
                                      23
                                           2023), https://www.larksuite.com/en_us/topics/ai-glossary/tokens-in-foundational-models; Hakan
                                      24   Tekgul, Tokenization: Unleashing the Power of Words, Arize (Feb. 2, 2023),
                                           https://arize.com/blog-course/tokenization/; Amal Menzli, Tokenization in NLP: Types,
                                      25   Challenges, Examples, Tools, neptune.ai Neptune Blog (Aug. 11, 2023),
                                           https://neptune.ai/blog/tokenization-in-nlp (“Menzli”).
                                      26   33
                                              See Menzli (“The token occurrences in a document can be used directly as a vector representing
                                           that document.”); Babis Marmanis, Heart of the Matter: Demystifying Copyright in the Training of
                                      27
                                           AIs, Dataversity (Feb. 2, 2024), https://www.dataversity.net/heart-of-the-matter-demystifying-
                                      28   copying-in-the-training-of-llms/(“Marmanis”); AWS, What are Large Language Models (LLM)?,
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                                       1 into text again.34 Within the model, these vectorized representations of the work’s content, also

                                       2 known as “embeddings,” are used for the model’s generative activities.35 As explained by a

                                       3 software engineer:

                                       4          The [] vectors are representations of tokens that preserve their original natural
                                                  language representation that was given as text. It is important to understand the
                                       5          role of word embeddings when it comes to copyright because the embeddings form
                                                  representations (or encodings) of entire sentences, or even paragraphs, and
                                       6          therefore, in vector combinations, even entire documents in a high-dimensional
                                                  vector space. It is through these embeddings that the AI system captures and stores
                                       7          the meaning and the relationships of words from the natural language.36

                                       8 In other words, authors’ copyright-protected expression is encoded and stored in the model by

                                       9 Meta and other AI developers.
                                                        2.      Meta’s Use of Copyrighted Works to Train Llama Was Not
                                      10
                                                                Transformative
                                      11
                                                 The process described above is not a transformative use of copyrighted works.
                                      12
                                                 Looking to the initial stage of the training process, Meta does not dispute that it engaged in
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                                      13
                                         unlicensed full-text copying when, using torrenting technology, it downloaded millions of textual
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                                      14
                                         works from illicit sources to assemble training sets for Llama.37 That Meta’s wholesale
                                      15
                                         appropriation of texts constituted direct copying without any type of transformation seems
                                      16
                                         obvious.
                                      17
                                                 Nor was there anything transformative about Meta’s mechanical encoding of the works it
                                      18
                                         appropriated word by word into Llama. The mechanical mapping of the content of copyrighted
                                      19
                                         works to exploit that content for its intrinsic expressive value (as opposed merely to enabling a
                                      20
                                         searching or indexing function, for example) does not qualify as a transformative use. It is well
                                      21
                                         established that encoding a copyrighted work into a more convenient or usable format is an act of
                                      22

                                      23

                                      24 https://aws.amazon.com/what-is/large-language-model/ (last visited Apr. 11, 2025) (“AWS”);
                                         Kevin Henner, An intuitive introduction to word embeddings, Stack Overflow Blog (Nov. 9,
                                      25 2023), https://stackoverflow.blog/2023/11/09/an-intuitive-introduction-to-text-embeddings/.
                                         34
                                            Janakiram MSV, The Building Blocks of LLMs: Vectors, Tokens and Embeddings, The New
                                      26 Stack (Feb. 8, 2024), https://thenewstack.io/the-building-blocks-of-llms-vectors-tokens-and-
                                         embeddings/.
                                      27 35 Id.; AWS.
                                         36
                                      28 37 Marmanis.
                                            Meta Br. at 6-8, 13.
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                                       1 copying that does not itself qualify as transformative under the criteria for fair use.38 In the words

                                       2 of the Ninth Circuit, courts are “reluctant to find fair use” when a work is merely converted to

                                       3 another format or medium.39

                                       4          Rather than focusing on the mechanical word-by-word copying of works to populate its

                                       5 LLM, Meta argues that the “astonishing” and “cutting-edge” capabilities of Llama40 to generate

                                       6 new content render that copying transformative.41 This is the equivalent of arguing that the

                                       7 wondrous ability of an online music service to encode and store tens of millions of songs so they

                                       8 can be called up and streamed back at a user’s command renders the service’s exploitation of

                                       9 music transformative (which of course it is not).
                                      10          But even if one considers Meta’s claim that Llama’s ability to generate output renders its

                                      11 mass copying transformative, its claim to transformativeness fails. The use of copyrighted works

                                      12 to facilitate AI generation does not align with the reasoning of Google Books, HathiTrust, or other
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                                      13 technological cases in which the copying was found to be transformative. As explained above, in
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                                      14 each of the cases relied upon by Meta the copying was to facilitate a use of the copyrighted work

                                      15 or works that did not aim to capitalize on expressive authorship—such as to provide a search or

                                      16 indexing service, or enable interoperability. By contrast, the purpose of Meta’s copying was to

                                      17 exploit the expressive content of the works, thus supplanting an obvious licensing market for those

                                      18 works (as discussed below).

                                      19          As Meta acknowledges, Llama can and does generate infringing copies of the works on
                                      20

                                      21

                                      22   38
                                              A&M Records, Inc. v. Napster, 239 F.3d 1004, 1015 (9th Cir. 2001) (“Napster”); see also, e.g.,
                                           Hachette Book Grp. v. Internet Archive, 115 F.4th 163, 192 (2d Cir. 2024) (digitizing books not
                                      23   transformative for purposes of fair use); Disney Enters, Inc. v. VidAngel, Inc., 869 F.3d 848, 861-
                                      24   63 (9th Cir. 2017) (rejecting argument that encoding of motion pictures to operate a streaming
                                           service was a transformative fair use); UMG Recordings, Inc. v. MP3.com, Inc., 92 F. Supp. 2d
                                      25   349, 351 (S.D.N.Y. 2000) (“MP3.com”) (same for music); U.S. Copyright Office, Exemption to
                                           Prohibition on Circumvention of Copyright Protection Systems for Access Control Technologies,
                                      26   80 Fed. Reg. 65944, 65960 (Oct. 28, 2015) (rejecting notion that format-shifting or space-shifting
                                           constitutes a fair use).
                                      27   39
                                              Napster, 239 F.3d at 1015.
                                           40
                                      28      Meta Br. at 1, 4.
                                           41
                                              Id. at 15, 17, 19-20.
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                                       1 which it is trained.42 To state the obvious, an AI model’s generation of text or an image that

                                       2 reproduces a training work is not transformative.43 Nor is there anything inherently transformative

                                       3 about combining elements of one work with those of another work or works, which invades the

                                       4 copyright owners’ derivative work rights.44 As Professor Jane Ginsburg observes, “AI outputs

                                       5 may incorporate the source works’ expression in a new production; but that output generally will

                                       6 not comment, criticize, shed light on or otherwise be about the copied expression.”45

                                       7          In Warhol, the Supreme Court warned against “an overbroad concept of transformative

                                       8 use” that encroaches upon copyright owners’ derivative work rights, explaining that an

                                       9 interpretation of transformativeness “that includes any further purpose, or any different character”
                                      10 could “swallow” the copyright owner’s exclusive right to create derivative works.46 To this end,

                                      11 the Court criticized overzealous application of “transformativeness” to encompass any work that

                                      12 “adds some new expression, meaning, or message.”47 Drawing on its earlier explication of fair use
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                                      13 in Campbell v. Acuff-Rose Music, Inc.,48 the Court emphasized that the secondary user must have
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                                      14 an independent justification for use of the work in question; that a copied work may be useful to

                                      15 convey a new meaning or message is not justification enough.49

                                      16
                                           42
                                      17      Meta Br. at 9, 23-24.
                                           43
                                              Andy Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 598 U.S. 508, 532-33 (2023)
                                      18   (“Warhol”) (first fair use factor likely to weigh against fair use where “an original work and a
                                           secondary use share the same or highly similar purposes, and the secondary use is of a commercial
                                      19
                                           nature”).
                                           44
                                      20      See, e.g., id. at 537, 550-51 (unlicensed commercial use of plaintiff’s photograph, as
                                           incorporated into an Andy Warhol silkscreen derivative, was nontransformative and therefore
                                      21   infringing); Dr. Seuss Enters., L.P. v. ComicMix LLC, 983 F.3d 443, 451-55 (9th Cir. 2020)
                                           (“Seuss”) (ComicMix’s unlicensed book consisting of a “mashup” of Dr. Seuss and Star Trek
                                      22   characters that mimicked Dr. Seuss illustrations was a nontransformative use of Seuss’s works).
                                           45
                                              Jane C. Ginsburg, Fair Use in the US Redux, Singapore J. Legal Stud. 3 at 29 (Mar. 2024)
                                      23
                                           (emphasis in original), https://law.nus.edu.sg/sjls/wp-content/uploads/sites/14/2024/05/firstview-
                                      24   march24-JaneGinsburg.pdf.
                                           46
                                              Warhol, 598 U.S. at 529, 541. In keeping with this instruction, the Court determined that a
                                      25   magazine’s commercial use of a silkscreen image created by Andy Warhol from plaintiff
                                           Goldsmith’s photographic portrait of Prince was not transformative because it served as a
                                      26   substitute for Goldsmith’s original photo. Id. at 523-24.
                                           47
                                              Id. at 541.
                                      27   48
                                              Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569 (1994).
                                           49
                                      28      See Warhol, 598 U.S. at 532-33 (independent justification “particularly relevant” where
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                                       1          AI-generated content that is not a recognizable copy or derivative of a training work or

                                       2 works—that is, the type of content AI companies claim to be the intended output of their

                                       3 systems50—by definition does not comment or shed light on any particular work. It is difficult to

                                       4 see how Meta can stake a claim to transformative use of training works based on output that does

                                       5 not convey commentary or criticism with respect to the particular works it has copied.

                                       6          B.      Meta’s Use of Stolen Works Undermines a Critical and Rapidly Expanding

                                       7                  Licensing Market for the Use of Textual Works by AI Developers

                                       8          There is one key point on which Plaintiffs agree with Meta: long-form textual works such

                                       9 as books are extremely valuable as training material for LLMs.51 Books and journals are rich in
                                      10 high-quality, structured, long-form prose and undergo a rigorous editorial process, ensuring

                                      11 grammatical and factual accuracy.52 Moreover, they span a range of topics, disciplines, and

                                      12 genres, and can thereby supply LLMs a wide variety of linguistic styles and concepts.
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                                      13          Claiming “there is no evidence that a market for licensing books to train LLMs” exists, and
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                                      14 “none of Plaintiffs’ work has economic value,” Meta asserts that its unlicensed copying to train

                                      15 Llama has not harmed any cognizable market for Plaintiffs’ works.53 Meta further proclaims that

                                      16 “any theoretical market for licensing text as training data is doomed to ‘market failure’ as there is

                                      17 “no economically feasible mechanism for Meta or other LLM developers to obtain licensed

                                      18 copies.”54 Meta’s claims are patently false. Since AI emerged in public life with the launch of

                                      19 ChatGPT at the end of 2022, AI companies including OpenAI (the company behind ChatGPT),
                                      20 Microsoft, Amazon, and others have entered into content licensing deals with publishers in order

                                      21
                                         unlicensed copying could displace a market for derivatives), 532-33 (“If an original work and a
                                      22 secondary use share the same or highly similar purposes, and the secondary use is of a commercial

                                      23 nature, the first factor is likely to weigh against fair use, absent some other justification for
                                         copying.”), 547 (“Copying might [be] helpful to convey a new meaning or message. It often is.
                                      24 But that does not suffice under first factor.”).
                                         50
                                            See, e.g., Meta Br. at 23-34 (acknowledging Meta has had to “implemen[t] mitigations” to
                                      25 “guard against the possibility of infringing outputs”).
                                         51
                                            Plaintiffs’ Br. at 4-6; Meta Br. at 23.
                                      26 52 Plaintiffs’ Br. at 4-6.
                                         53
                                      27 54 See Meta Br. at 26-32.
                                            Id. at 30-31.
                                      28
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                                       1 to access and use their works to build and operate AI systems. The below chart lists AI licensing

                                       2 deals for textual works of which AAP is aware, either directly from its members or through public

                                       3 reports. Undoubtedly there are many more that are not known to AAP or are still in the pipeline.

                                       4                                  AI Licensing Deals for Textual Works
                                                              (As Publicly Announced and/or Reported by AAP Members)55
                                       5
                                                     Licensee     Content Owner                      Licensee        Content Owner
                                       6             Amazon       The Associated Press               OpenAI          Hearst
                                                     Amazon       Business Insider                   OpenAI          Le Monde
                                       7             Amazon       Condé Nast                         OpenAI          News Corp
                                                     Amazon       Forbes                             OpenAI          Prisa Media
                                       8
                                                     Amazon       Hearst                             OpenAI          Schibsted Media
                                                                                                                     Group
                                       9
                                                     Amazon       Politico                           OpenAI          TIME
                                      10             Amazon       Reuters                            OpenAI          Vox Media
                                                     Amazon       Time                               Perplexity      Adweek
                                      11             Amazon       USA Today                          Perplexity      The Independent
                                                     Amazon       The Washington Post                Perplexity      The Los Angeles
                                      12                                                                             Times
                                                     Amazon     Vox                                  Potato          Wiley
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                                      13             Dow Jones  The Associated Press                 ProRata.ai      Adweek
                                                     Dow Jones  The Wall Street                      ProRata.ai      The Atlantic
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                                      14                        Journal
                                                     Dow Jones The Washington Post                   ProRata.ai      Atlas Obscura
                                      15             LexisNexis The Associated Press                 ProRata.ai      Arena Group
                                                     Meta       Reuters                              ProRata.ai      Axel Springer
                                      16             Microsoft  Axel Springer                        ProRata.ai      Buzzfeed
                                                     Microsoft  Financial Times                      ProRata.ai      DMG Media Group
                                      17             Microsoft  HarperCollins                        ProRata.ai      Financial Times
                                                     Microsoft  Hearst                               ProRata.ai      Fortune
                                      18             Microsoft  Reuters                              ProRata.ai      Guardian Media Group
                                                     Microsoft  USA Today                            ProRata.ai      Hello!
                                      19             Mistrial   Agence-France-Press                  ProRata.ai      Mediahuis
                                                     OpenAI     American Journalism                  ProRata.ai      Mumsnet
                                      20                        Project
                                                     OpenAI     The Associated Press                 ProRata.ai      News/Media Alliance
                                      21                                                                             (on behalf of its
                                                                                                                     members)
                                      22             OpenAI       The Atlantic                       ProRata.ai      Prospect
                                                     OpenAI       Axel Springer                      ProRata.ai      Reach PLC
                                      23             OpenAI       Axios                              ProRata.ai      Sky Media Group
                                                     OpenAI       Condé Nast                         Confidential    Taylor & Francis
                                      24
                                                     OpenAI       Dotdash Meredith                   Confidential    Wiley
                                      25             OpenAI       Financial Times                    Confidential    Wiley
                                                     OpenAI       GEDI                               Confidential    Wiley
                                      26             OpenAI       Guardian Media                     Confidential    Wiley
                                                                  Group
                                      27

                                      28   55
                                                Information used to compile this chart is on file with AAP.
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                                       1          The fourth fair use factor of section 107 requires courts to assess the effects of the claimed

                                       2 fair use on the “potential market” for the works at issue. This includes “not only the extent of

                                       3 market harm caused by the particular actions of the alleged infringer, but also whether unrestricted

                                       4 and widespread conduct of the sort engaged in by the defendant ... would result in a substantially

                                       5 adverse impact.”56 As illustrated above, the market for licensing of textual works to AI

                                       6 developers is not hypothetical, but actual—and rapidly expanding. Some researchers estimate the

                                       7 AI training license market to be valued at $2.5 billion now, projecting it to reach $30 billion

                                       8 within a decade.57

                                       9          Licensing structures continue to evolve that enable authors and content owners to
                                      10 participate in collective deals, receive attribution when AI tools rely upon their work, and be

                                      11 compensated for their contributions. The News/Media Alliance (“N/MA”), for example, has

                                      12 entered into a licensing framework with AI company ProRata through which N/MA’s thousands
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                                      13 of news and media affiliates can opt to license their content for generative AI uses.58 ProRata
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                                      14 calculates a proportional share of revenue for participating publishers based on the model’s use of

                                      15 their content to generate output.59

                                      16          This is not a picture of “market failure,” as Meta would have us believe. The market has

                                      17 responded. A determination that Meta’s unlicensed appropriation of millions of copyrighted

                                      18 works to build and operate Llama was a fair use could fatally undermine critical current and future

                                      19 licensing opportunities for the publishers of books, journals and other texts whose works are being
                                      20 exploited.60

                                      21
                                           56
                                              Campbell, 510 U.S. at 590 (internal quotations omitted).
                                      22   57
                                              Katie Paul & Anna Tong, Inside Big Tech’s Underground Race to Buy AI Training Data,
                                      23   Reuters (Apr. 5, 2024), https://www.reuters.com/technology/inside-big-techs-underground-race-
                                           buy-ai-training-data-2024-04-05/.
                                           58
                                      24      Sam Quigley, News/Media Alliance Announces AI Licensing Partnership with ProRata,
                                           News/Media Alliance (Mar. 26, 2025), https://www.newsmediaalliance.org/prorata-licensing-
                                      25   partnership/.
                                           59
                                              Charlotte Tobitt, FT, Atlantic, Axel Springer and Fortune Get Behind AI Start-up’s Per-use
                                      26   Compensation Plan, Press Gazette (Aug. 7, 2024) https://pressgazette.co.uk/news/prorata-ai-
                                           publisher-deals-financial-times-axel-springer-fortune-atlantic/.
                                      27   60
                                              In emphasizing the market for AI training data—the current focus of this litigation—AAP does
                                      28   not mean to suggest that other markets for publishers have not been negatively impacted by
                                           Meta’s appropriation and inclusion of their works in Llama.
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                                       1          Contrary to Meta’s efforts to minimize the importance of the AI training market,61 that

                                       2 Meta does not view that market as a “normal” or “traditional” one for publishers62 does not negate

                                       3 its salience in weighing the fourth fair use factor. In the pivotal case American Geophysical Union

                                       4 v. Texaco Inc.,63 for example, which addressed then-new photocopying technology, the Second

                                       5 Circuit recognized that unlicensed photocopying of journal articles by Texaco caused market harm

                                       6 because, even though the market was new, publishers had made licenses available for that use.64

                                       7 To accept Meta’s argument that there can be no market harm unless a licensing market is

                                       8 “traditional” would be to treat the exploitation of copyrighted works by any new technology as

                                       9 undeserving of compensation. Needless to say, that is not the law. In assessing fair use, courts
                                      10 consider whether the market in question is one “that creators of original works would in general

                                      11 develop or license others to develop.”65 It is only logical that copyright owners will continue to

                                      12 pursue licensing agreements with AI companies in a booming market with high demand for their
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                                      13 works.
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                                      14          Finally, Meta seeks to dismiss Plaintiffs’ claim of market harm as “circular,” complaining

                                      15 that Plaintiffs are asserting a right to license a use that Meta insists is transformative.66 But it is

                                      16 Meta that is relying on circular reasoning: that characterizing a use as transformative eliminates

                                      17 any need to investigate its impact on a market or potential market for the works at issue.

                                      18          C.      A Finding of Fair Use Based on the Exploitation of Pirated Work Contravenes

                                      19                  Long-Established Copyright Policy
                                      20          Meta and its supporting amici, the Electronic Frontier Foundation (EFF) and four

                                      21 professors of law, urge this Court to ignore Meta’s choice to bypass lawful access to Plaintiffs’

                                      22 works and populate its LLM with pirated material instead in assessing whether Meta’s use was

                                      23

                                      24   61
                                              See Meta Br. at 30 (calling the AI training market “a potential market” that is “not likely to
                                      25   develop.”).
                                           62
                                               Id. at 10, 25-26.
                                      26   63
                                               60 F.3d 913, 930 (2d Cir. 1994).
                                           64
                                               Id. at 930-31.
                                      27   65
                                               Campbell, 510 U.S. at 592; accord Seuss, 983 F.3d at 460 (same); Hachette Book Grp, Inc., 115
                                      28   F.4th at 192 (legally cognizable markets include “likely to be developed markets”).
                                           66
                                               See Meta Br. at 26-27; see also Intell. Prop. L. Professors’ Br. at 8-11.
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                                       1 fair.67 In addition to evincing bad faith,68 Meta’s conduct is all the more troubling because it

                                       2 contravenes the framework Congress established in 1998 by adding the DMCA to the Copyright

                                       3 Act.69 With the DMCA amendments, Congress sought to establish a robust digital marketplace by

                                       4 ensuring appropriate safeguards for works made available online, including copyright owners’

                                       5 ability to rely on DRM protections in distributing electronic copies of their works. As explained

                                       6 in the accompanying Senate Report:

                                       7                  Due to the ease with which digital works can be copied and
                                                          distributed worldwide virtually instantaneously, copyright owners
                                       8                  will hesitate to make their works readily available on the Internet
                                                          without reasonable assurance that they will be protected against
                                       9                  massive piracy. [The DMCA] …. will facilitate making available
                                                          quickly and conveniently via the Internet the movies, music,
                                      10                  software, and literary works that are the fruit of American creative
                                                          genius.70
                                      11
                                                  In weighing Meta’s claim of fair use, this Court can and should consider Meta’s conduct in
                                      12
                                           relation to the objectives of the Copyright Act and Constitution’s directive to protect the exclusive
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                                      13
                                           rights of authors in their works.71 In addition to avoiding the inconvenience and expense of
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                                      14
                                           licensing and compensating copyright owners for the commercial use of their content, Meta opted
                                      15
                                           to evade technological protections that are essential to a functioning online marketplace for
                                      16
                                           copyrighted works. This is manifestly at odds with the mandate of Congress in adopting the
                                      17
                                           DMCA. A finding of fair use in this case would not only undermine the public interest in a
                                      18
                                           workable copyright regime, but encourage and reward theft twice over.
                                      19
                                      20

                                      21
                                           67
                                            Notably, while Meta’s amici urge the Court to ignore Meta’s conduct in considering Meta’s fair
                                      22 use claim, neither of their briefs expressly advocates for an overall finding of fair use. See
                                         generally Intell. Prop. L. Professors’ Br.; EEF Br..
                                      23 68 Plaintiffs’ Br. at 8-11.
                                         69
                                      24 70 DMCA, Pub. L. No. 105-304, 112 Stat. 2860 (1998).
                                            S. Rep. No. 105-190, at 8 (1998).
                                         71
                                      25    U.S. Const. art. I, § 8, cl. 8 (“The Congress shall have Power … To promote the Progress of
                                         Science … by securing for limited Times to Authors … the exclusive Right to their respective
                                      26 Writings.”); see also Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S. 539, 558 (1985)
                                         (“The economic philosophy behind the clause empowering Congress to grant patents and
                                      27 copyrights is the conviction that encouragement of individual effort by personal gain is the best

                                      28 way to advance public welfare through the talents of authors and inventors.”) (internal quotes
                                         omitted).
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                                       1                                          CONCLUSION

                                       2         AAP respectfully submits that this Court should deny Meta’s claim of fair use and grant
                                       3 Plaintiffs’ motion for partial summary judgment.

                                       4

                                       5
                                           DATED: April 11, 2025                   Respectfully submitted,
                                       6

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                                      20
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                                      21                                                 Court for the Northern District of California
                                      22

                                      23

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